Case 24-10850-djb Doc55 Filed 06/02/25 Entered 06/03/25 15:22:34 Desc Main

Document Page 1of 26
Declaration Regarding Attorney Compensation in Bankruptcy Case No. 24-10850-DJB

1, Donald Boyd, hereby declare the following:

1. | was the Debtor in Chapter 13 Bankruptcy Case No. 24-10850-DJB in the Eastern District of
Pennsylvania.

2. On May 20, 2025, the court entered an order granting total attorney compensation of $4,725.00 to
my counsel, Brad A. Sadek.

3. | paid $1,610.00 in pre-petition fees before the case was filed.

4. The remaining $3,115.00 was authorized by the court to be paid by the Chapter 13 Trustee from
estate funds on hand as an administrative expense.

5. | have not agreed to, nor am | liable for, any further fees beyond this court-approved
compensation.

6. This legal representation was undertaken with the understanding that it would be handled in
connection with the sale of my property, and | would not personally owe additional legal fees.

7. | have supporting documentation showing that no profit was made in the sale of my property. In
fact, | was required to apply for and was granted a waiver from the New Jersey Division of Taxation,
based on the lack of proceeds.

8. | am currently unemployed and facing significant financial hardship.

9. In light of the facts above, | believe that any further attempts by the Law Firm of Brad A. Sadek to

collect additional money from me are not only unsupported by the court's-ordér, but also Sxplonatvg

given my financial circumstances. |
AUN 2 202

| affirm under penalty of perjury that the foregoing is true and correct to the best of iy.

and belief.
Case 24-10850-djb Doc 55 | Filed 06/02/25. Entered 06/03/25 15:22:34 Desc Main
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Case 24-10850-djb Doc Document Page 3 of 26

MEDICAL CERTIFICATE
(TO BE COMPLETED BY YOUR HEALTH CARE PROVIDER AFTER YOU BECOME DISABLED)

[evo NAME Non ald Boyd fore 3/2¢h ofS

PATIENT HAS BEEN UNDER MY GARE FOR THIS PERIOD OF DISABILITY FROM 2} IGj2o2s 70 Cols”
( onth/Day/Year) (Mont ay/Year)

FREQUENCY OF TREATMENT f “to ENTER THE DATE PATIENT WAS UNABLE TO PERFORM HIS/HER
REGULAR WORK DUE TO HIS DISABILITY
{Month/Day/Yesr)

3 | ODS on —_ aerate
PATIENTWAS SEEN BY ME ON alig Lets | ESTIMATED RETURN TO WORK DATE ee
} (Month/Day/Year) 4.
Undetermined , Unknow nthyDayl

IF RECOVERED, ON WHAT DATE WAS THE PATIENT FIRST ABLE TO RETURN TO WORK?
(Month/Day/Year)

DIAGNOSIS (nature and Cause of disability which prevenis fr Te to rl th
adicule pathy

CeVVical dAise disorder wi

CET icalaia -
CLINICAL DATA TO SUPPORT DIAGNOSIS ,
IF PREGNANCY, PROVIDE ESTIMATED DATE OF DELIVERY?
(Month/Day/Year)

COMPLICATIONS, IF ANY
IF PREGNANCY TERMINATED, ENTER DATE |

IDENTIFY REASON (birth, c-section, miscariage, abortion)
DATE OF EMERGENCY ROOM CARE OR HOSPITALIZATION FROM Q
“ Month/Day/Year) ~

pe eT
(Month/Day/Year)

TYPE OF SURGERY | DATE OF SURGERY

' CERTIFY THAT THE ABOVE STATEMENTS ARE IN MY MEDICAL OPINION, TRUE AND ACCURATE.

PRINT NAME \ ol 15a C heudh uty Noh Fe rmruRe MV, ( LE pate 3 , 26, 2 wl
ADDRESS E Xce| Medic a | Center AREA OF PRACTICE |

SIS Stenton flue, Ahad! hia lace Family Medicine
TELEPHONE NO. 7 677 ~ 435-5 26Y [Fax no.

BANK OF AMERICA“

*/5ANK OF AMERICA, N.A. (THE "BANK") Transaction

History
<< DBA BOYD'S HOME IMPROVEMENT'S COMPANY BUSINESS ADV FUNDAMENTALS
©
= DONALD BOYD SOLE PROP wane eke ATIA
D
®
a
a Last Posting Date 05/28/2025 Date/Time Printed 5/29/2025 1:02 PM EST
Qj
N
Lo Since Last Statement Summary
LQ Last Statement Date 04/30/2025
S Balance Last Statement ($) $369.20
© Deposits/Credits (+) # 9 $6,199.57 Holds (-)
& Withdrawals/Debits (-) # 84 $6,216.49 Pending Credits (+)
Oo
FE Available Balance ($) -$315.58
OD G#Counts include posted items only-Intraday items are not included in the counts
c ‘Balance Last Statement, Deposits/Credits, Withdrawals/Debits may not total to Available Balance.
WS
Lo Mate Description Type Amount Available Balance
nN 04/21/2025 Phone transfer from CHK 2246 Confirmation# 1424829608 Transfer $2,000.00 $0.00
N
Qe
S = Statement Period as of 04/01/2025
Do
Od
i A --—-No posted transactions in this statement period----
tp -
O Statement Period as of 03/01/2025
oO
02/27/2025 Online Banking transfer from CHK 2246 Confirmation# 1768867323 Transfer $2,000.00 $0.00
2
S
3 Statement Period as of 02/01/2025
oO
oO
o
st -----No posted transactions in this statement period----
N
®
“n
S
For additional information or service, please contact the Customer Service Center at 1-800-432-1000 eh oe A744
*= Item(s) included in Previous Statemeni(s).
00-14-9036M 11-2010 Page 1

NPA
Dave Description Type Amount Available Balance
——-No posted transactions in this statement period-—--

Statement Period as of 05/01/2024

~—-No posted transactions in this statement period———

Statement Period as of 03/30/2024

03/08/2024 ’CHECKCARD.-.0307.SADEK-LAW. OFFICES 4k Gor" 2.15+5450008 PA 24760624068300001140656 “= Debit. =<$2;000:00 “$0.00
CKCD 8111 4256370002196897

Statement Period as of 03/01/2024

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Document

**No More Activity For This Account***

For additional information or service, please contact the Customer Service Center at 1-800-432-1000 week me AT 4A

*= Item(s) included in Previous Statement(s).

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Page 3
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American Land Title Association

ALTA Settlement Statement - Combined
Adopted 05-01-2015

File No./Escrow No.: 177591RN-01
Print Date & Time: 03/27/25 12:15 PM
Officer/Escrow Officer: Veronica
Krassowska

Settlement Location:

Gotlib Law LLC

64 Carson Ave

Metuchen, NJ 08840

RealSafe Title, LLC
ALTA Universal ID: 1186999
111 Littleton Road, Suite 301

Parsippany, NJ 07054

REALYSAFE

TITLE

|Property Address:

[Borrower/Buyer:

Seller:

Lender:

Loan Number:

Settlement Date:

Disbursement Date:

Additional dates per state requirements:

Block 521, Lot 37, Willingboro Township, in Burlington County, NJ
47 Marboro Lane
Willingboro, NJ 08046

Dajuan Goldsberry
143 Grumman Avenue
Newark, NJ 07112

Donald Boyd
47 Marboro Lane
Willingboro, NJ 08046

Prosperity Home Mortgage, LLC, 4440 Brookfield Corporate Drive, Chantilly, VA, 20151
1002813347
03/28/2025
03/28/2025

Financial

$265,000,00 | Sale Price of Property $265,000.00
Deposit $10,000.00
Loan Amount $260,200.00
Prorations/Adjustments

$89.67 |City/town taxes from 03/28/2025 thru 03/31/2025 $89.67

Loan Charges to Prosperity Home Mortgage, LLC
Origination Fee $1,499.00
Prepald Interest $47.23 per day from 03/28/2025 to $188.92
04/01/2025)
0.051% of Loan Amount (Points) $132.70
Other Loan Charges
Appraisal Fee 1004D $150.00
Credit Report $128.50
Flood certification $11.50
MIP $4,475.18

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File # 177591RN-01
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Impounds
Homeowner's Insurance $129.08 per month for 3 mo, $387,24
Property Taxes $519.48 per month for 2 mo. $1,038.96
Ageregate Adjustment $129.08
Title Charges & Escrow / Settlement Charges
Title - ALTA 8.1-06 Enh to RealSafe Title, LLC - TRUST
Title - ALTA 9.10-06 Enh to RealSafe Title, LLC - TRUST
Title - Closing / Settlement Fee ART 6 to RealSafe Title, LLC $525.00
- TRUST
Title - Closing Protection Ltr ART 6.6 to RealSafe Title, LLC - $75.00
TRUST
Title - County Search & Copies to RealSafe Title, LLC - $95.00
TRUST
Title - E Recording Platform ART 7.6 to RealSafe Title, LLC - $7.00
TRUST
Title - E-Doc Fee ART 7.2.2 to RealSafe Title, LLC - TRUST $50.00
Title - Flood Search ART 5.3 to RealSafe Title, LLC - TRUST $10.00
Title - Overnight Fees ART 7.5 to RealSafe Title, LLC - TRUST $31.50
Title - Prepare/Record NOS ART 7.6 to RealSafe Title, LLC - $40.00
TRUST
Title - Recording Ser. Fee Mtg ART 7.1 to RealSafe Title, LLC $15.00
- TRUST
Title - Survey Endorsement to RealSafe Title, LLC - TRUST $25.00
Title - Tax Search ART 5.3 to RealSafe Title, LLC - TRUST $33.00
Title - Tidelands Search ART 5.3 to RealSafe Title, LLC - $25.00
TRUST
Title - Title Examination ART 5.1 to RealSafe Title, LLC - $100.00
TRUST
Title - Trans Platform Fee ART 7.6 to RealSafe Title, LLC - $81.00
TRUST :
Title - Upper Ct/Pat Search ART 5.3 to RealSafe Title, LLC - $20.00
TRUST
Title - Wire Fee ART 7.6 to RealSafe Title, LLC - TRUST $19.00
$2,573.50 Utility Bill to Willingboro MUA :

$20.00 Title - Outgoing Wire Fee to RealSafe Title, LLC - TRUST

$31.50 Title - Overnight Fees to RealSafe Title, LLC - TRUST
Title - Lender's Title Insurance($1,451.00) to RealSafe Title, $25.00
LLC - TRUST
Title - Owner's Title Insurance($46,00) to RealSafe Title, LLC $1,472.00
~ TRUST
Government Recording and Transfer Charges
Recording Fee (Deed) to County Clerk $105.00
Recording Fee (Mortgage) to County Clerk $305,00

$75.00 Cancellation of Tax Lien to County Clerk

$1,442.00 Transfer Tax to County Clerk
Payoff(s)
$259,941.00 Lender: Payoff to Shellpoint
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Total ($259,941.00)

Miscellaneous
Property Taxes to Willingboro Township TAX COLLECTOR $1,558.44
Attorney Fee Buyer $1,675.00
to Gotlib Law LLC
Attorney Fee Buyer Costs to Gotlib Law LLC $75.00
$1,980.00 Attorney Fee Seller
to Buckalew Frizzell & Crevina LLP
55,300.00 Commission-Listing
to Signature Realty NJ, LLC
Commission-Selling $7,950.00
to BHHS- New Jersey Properties
$1,000.00 Final Utility (escrow) to RealSafe Title, LLC - ESCROW
Lender Credits $10,000.00
$100.00 Duplicate Cancellation for Tax Lien to RealSafe Title, LLC -
ST :

bit

Subtotals

$272,463.00 $265,089.67 $287,289.53
Due From Borrower $7,089:53]
$7,373.33 Due From Seller
$272,463.00] $272,463.00 Totals $287,289.53| $287,289.53)
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Acknowledgement
We/I have carefully reviewed the ALTA Settlement Statement and find It to be a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction and further certify that | have received a copy of the ALTA
Settlement Statement. We/I authorize RealSafe Title, LLC to cause the funds to be disbursed in accordance with this statement.

Borrower/Buyer: ° Borrower/Buyer:

Dajuan Goldsberry — Date

Seller: Seller:

Authentin
[Donald Boyd 03/27/25
Donald Boyd Date
CO 2/28 /ex”

Veronica Krassowska Date
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Do ent age 10 ef 26
Shellpoint Mortgage Servicing Si ] t
P.O. Box 10826 e oIn

Greenville, SC 29603 ADWISIONOF newrex

DONALD BOYD
PO BOX 47745
PHILADELPHIA, PA 19160

04/10/2025

Re; Return of Loan Documents

Loan Number: 0567243715

Property Address: 47 MARBORO LANE WILLINGBORO TWP
WILLINGBORO, NJ 08046

Dear DONALD BOYD

This letter is a notice to satisfy the requirements of New J ersey law. We have sent an instrument
to the proper public officer to request cancellation of the mortgage for the loan referenced above,
Enclosed is a copy of what has been transmitted to the Clerk for recording.

If you have any questions, please contact us at 800-365-7107, Thank you for allowing us to be
of service to you,

Sincerely,

Customer Service

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STATE OF NEW JERSEY
COUNTY OF BURLINGTON

Know all men by these presents, that US BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET TRUST, the
holder of a certain Mortgage executed to secure payment of $149,000.00, and interest of said Mortgage, bearing
the date 01/12/2007, made and executed by DONALD BOYD, mortgagor(s), with an address of 47 MARBORO
LANE WILLINGBORO TWP WILLINGBORO, NJ 08046 to MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., AS MORTGAGEE, AS NOMINEE FOR NATIONS HOME
MORTGAGE CORPORATION, ITS SUCCESSORS AND ASSIGNS, mortgagee(s), recorded in the office of
the Register of Titles and County Recorder in BURLINGTON County, New Jersey, in Mortgage Book ER 7 and
Page 76, does hereby acknowledge full payment and satisfaction ‘of the same, and does hereby cancel and
discharge said Mortgage.

I sign this Discharge of Mortgage on this 04th day of April in the year 2025.

US BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY
AS OWNER TRUSTEE FOR VRMTG ASSET TRUST, by NEWREZ LLC D/B/A SHELLPOINT
MORTGAGE SERVICING, its Attorney-in-Fact

LAUREN ASTLE
VICE. PRESIDENT

All persons whose signatures appear above have qualified authority to sign and have reviewed this document and
supporting documentation prior to signing.

STATE OF FLORIDA

COUNTY OF PINELLAS

The foregoing instrument was acknowledged before me by means of [X] physical presence or [ ] online
notarization on this 04th day of April in the year 2025, by Lauren Astle as VICE PRESIDENT of NEWREZ LLC
D/B/A SHELLPOINT MORTGAGE SERVICING as Attorney-in-Fact for US BANK TRUST NATIONAL
ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR
VRMTG ASSET TRUST, who, as such VICE PRESIDENT being authorized to do so, executed the foregoing
instrument for the purposes therein contained, He/she/they is (are) personally known to me.

. Witz, —__ SUSAN KLEIN
[bee SENG Notery Public-Stete of Flotide
L A Ee $3 Commission # HH 609630

B aS My'C isslon Exoivree
SUSAN KLEIN hae _ MY Commission Expires

COMM EXPIRES: 2/28/2029 ”

AA

*DO112566625*

SPTRC 444573800 DOCR T042504-01:51:59 [C-1] ERCNNIX5

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shell ont Monday - Friday; 8:00AM-9:00PM ET
® Saturday: 10:00AM-2:00PM ET
PHONE NUMBER: 800-365-7107
FAX NUMBER: 866-467-1137

E-MAIL: loanservicing@shellpointmtg.com

March 25, 2025

Boyd, Donald
PO BOX 47745
Philadelphia, PA 19160

Payoff figures have been requested on the loan for the borrower and property described below.

Loan ID: 0567243715

Donald Boyd Email: donbdboyd@yahoo.com
47 Marboro Lane

Willingboro, NJ 08046

Loan Type: Conventional
When remitting funds, please use our loan number to ensure proper posting and provide us with the

borrower's forwarding address. Funds received in this office after 3:00 pm Eastern Time will be
processed on the next business day, with interest charged to that date.

This payoff quote is effective 4/25/2025 and is good through 4/25/2025 . Any transactions that occur
on or after the effective date may change the payoff amount.

Projected Payoff Date 4/25/2025
Principal Balance $137,975.38
Interest To 4/25/2025 $21,292.40
Fees $8,007.70
Prepayment Penalty $0.00
Release Fees $45.00
Funds owed by borrower $37,321.99
Funds owed to borrower ($588.83)
Deferred Principal $55,887.36
Total Payoff $259,941.00
Per diem $14.65

The next payment due date is 6/1/2021. Payments are made by Billing on a monthly basis. The
interest rate for this payment is 3.87500% and the P & | payment is $601.88. The taxes are next due
5/10/2025.

PLEASE CALL THE NUMBER LISTED ON THIS FORM TO UPDATE FIGURES PRIOR TO
REMITTING FUNDS AS THEY ARE SUBJECT TO CHANGE WITHOUT NOTICE.

Mailing Address

Shellpoint Mortgage Servicing
75 Beattie Place

Suite LL202

Greenville, SC 29601

POt_web.rpt - Email donbdboyd@yahoo.com
3/25/2025 20
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shell omnt Monday - Friday: 8:00AM-9:00PM ET
® Saturday: 10:00AM-2:00PM ET
PHONE NUMBER: 800-365-7107

FAX NUMBER: 866-467-1137
E-MAIL: loanservicing@shellpointmtg.com

Payoff Policy Details:
1. When remitting funds, please use our loan number to ensure proper posting and provide us with the
borrower's forwarding address .
2. Payoff funds are accepted Monday through Friday, excluding federal holidays, and will be effective same day
if received by 3pm EST .
3. Continue making your monthly payments until you send us the amount needed to pay off your mortgage
to avoid late charges or adverse credit reporting .
a. If you currently have your monthly payment set up on automatic withdrawal (ACH), or have any
pending payments set up, drafting will continue until the loan is paid in full, at which time future
drafts will automatically be cancelled .
4. If you are due for a refund, that refund will be issued by check on day 20 after the date the loan is paid in
full .
a. Any refunds will be sent to the mailing address we have on record for this account . If your
mailing address is changing, you must contact us to provide a new address .
5. The payoff total quoted above is valid through the stated good through date . Any transactions that occur on
or after the issue date of this payoff statement may change the total payoff amount .
6. The payoff amount is subject to our final verification once we receive the payoff funds . We reserve the right,
except where prohibited, to correct any portion of this statement at any time .
7. if the amount we receive is insufficient to pay off this loan, we may use funds in the escrow balance to
cover the short payoff.
8. We will pay all escrowed items, including hazard and flood insurance and taxes, from your escrow account
as normally scheduled up to the date we receive the payoff funds .
a. You or your closing agent (if applicable) will need to request a refund from the appropriate tax
authority or insurance company for any duplicate tax or insurance payments .
b. Any existing lender-placed property insurance premium will be cancelled upon account payoff, and
any related unearned premiums will be refunded .
9. Once the loan is paid in full, the appropriate security instrument will be released as follows :
a. Real Property: a Release is recorded with your county and a copy will be sent to you once
returned from the county, usually within 30-90 days, dependent upon state/county processing
times .
b. Personal Property: a Tile Lien Cancellation or UCC3 Termination will be sent to the mailing
address we have on record for this account within 30-90 days .

IMPORTANT: Update Your Mailing Address for Tax Documentation
“To ensure timely delivery of your tax documents related to your mortgage, please verify, and update your
mailing address in your online account. To do so, sign into your account at myaccount., shellpointmtg.com
and go to your dashboard. Then, click on the “down” arrow beside your profile icon and select My Profile.
Here you can update your address and phone number. We encourage you to update your personal
information whenever anything changes.”

POt_web.pt - Email donbdboyd@yahoo.com
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shell oint Monday - Friday: 8:00AM-9:00PM ET
® Saturday: 10:00AM-2:00PM ET

PHONE NUMBER: 800-365-7107

FAX NUMBER: 866-467-1137
E-MAIL: loanservicing@shellpointmtg.com

Wiring Instructions - * You must include the "Reference" information listed below if wiring funds *

Bank Name: Citibank N.A.

ABA Number: 021000089

Account Number: 31354717

Account Name: Sheilpoint Mortgage Servicing
Reference: 0567243715 / Boyd

“BEWARE OF SCANS - WE WILL NEVER ASK YOU TO USE DIFFERENT WIRING INSTRUCTIONS
~IF YOU RECEIVE ANY REQUEST TO USE INSTRUCTIONS DIFFERENT THAN THESE PLEASE
CALL THE TELEPHONE NUMBER LISTED AT THE TOP THIS FORM TO CONFIRM NEXT STEPS .“

Donald Boyd - Loan ID #0567243715

FEE DETAILS
Description Amount
Lien Releaset Fee - Trustee/LR Preperation Fee $22.50
BKPP- Sheriff Cost $2,000.00
BKPP- Proof of claim $475.00
BKPP- Filing Cost $100.00
BKPP- FC Costs $2,904.97
BKPP- Certified Mail Cost $146.25
BKPP- Attorney Cost $75.00
BKPP- Property Inspection $396.00
BKPP- Recording Cost $65.00
BKPP- Title Cost $1,365.00
Default Related Cost $15.00
Property Inspection $30.00
NSF Fee Payment $40.00
Late Charge Payment $372.98

$8,007.70

PO1_web.rpt - Email donbdboyd@yahoo.com
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shell omnt Monday - Friday: 8:00AM-9:00PM ET
® Saturday: 10:00AM-2:00PM ET
PHONE NUMBER: 800-365-7107

FAX NUMBER: 866-467-1137
E-MAIL: loanservicing@shellpointmtg.com

FUNDS OWED BY BORROWER DETAILS

Description Amount

Lender Placed Hazard Due $132.91

Escrow Only Payment $37,189.08
$37,321.99

PO1_web.rpt - Email donbdboyd@yahoo.com
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shell oint Monday - Friday: 8:00AM-9:00PM ET
® Saturday: 10:00AM-2:00PM ET

PHONE NUMBER: 800-365-7107

FAX NUMBER: 866-467-1137
E-MAIL: loanservicing@shellpointmtg.com

Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any
information obtained will be used for that purpose. Newrez LLC dba Shelipoint Mortgage Servicing's NMLS ID is
3013.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be
advised that this notice is to advise you of the status of your mortgage loan. This notice constitutes neither a
demand for payment nor a notice of personal liability to any recipient hereof, who might have received a discharge
of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Rellef Act and certain state
laws provide important protections for you, including interest rate protections and prohibiting foreclosure
under most circumstances during and twelve months after the servicemember’s military or other service.
Counseling for covered servicemembers js available from Military OneSource (800-342-9647) and the United
States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the Military
OneSource website www.militaryonesource. mill.

Notice of Error or information Request Address

You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting
information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your joan and would like to submit an Error Resolution or informational Request, please
write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will
assist you. Error Resolution, including concerns of inaccurate information sent to credit reporting agencies, or
requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.

A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan
by transfer upon the death of a relative, as a result of a divorce or legal separation, through certain trusts, between
spouses, from a parent to a child, or when a borrower who Is a joint tenant or tenant by the entirety dies. If you are a
successor in interest, or you think you might be, please contact by phone, mail or email to start the confirmation
process.

Our system of record has your preferred language as English.

If you prefer to receive communication In a language other than English, please contact us at 800-365-7107 to
speak with a translator in your preferred language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contactenos en el
800-365-7107 para hablar con un traductor en el idioma de su preferencia sobre la gestién de su préstamo o
cualquier documento que haya recibido.

01 SR OR BE FA SS 1 Ob WY Be th Ba TT eR 800-365-7107 RNKRBE RMS RAMEE Sm
BR BIER DRS Be WS RPP SZ EA TY

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.

PO1_web.rpl - Email donbdboyd@yahoo.com
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Case 24-10850-djb Doc55 Filed 06/02/25 Entered 06/03/25 15:22:34 Desc Main
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Ee Sees
C g cg
Paul H. Young YOUNG, MARR, MALLIS S ASSOCIATES Additional Pennsylvania Offices:
Gall N. Marr Aw ER A
Paul J. Mallis 328 West Broad Street, 2" Floor
Carol 8. McCullough* 3554 Hulmeville Road, Suite 102 Quakertown, Pennsylvania 18951
Gregg Shore* Bensalem, Pennsylvania 19020
Phone: (215) 639-5297 7909 Bustleton Avenue
Fax: (215) 639-1344 Philadelphia, Pennsylvania 19152
All Attorneys Are Members of support@ymalaw.com
Pennsylvania & New Jersey Bars www.ymabankruptcy.com 137 North Fifth Street
*Pannsylvania Bar Only : Allentown, Pennsylvania 18102
April I 8, 2025 135 Old York Road
Donald Boyd Jenkintown, Pennsylvania 19046
1208 Ogden Street Imes Di te 2D
Philadelphia, PA 19123 101 Larry Holmes Drive, Suite

Easton, Pennsylvania 18042

2 Bala Plaza, Suite 300
Re: 2410850 Dismissal of Chapter 13 Bankruptcy on 4/18/2025 Bala Cynwyd, Pennsylvania 19004

600 W. Germantown Pike, Suite 400
Plymouth Meeting, Pennsylvania 19462

Dear Donald,

Court records indicate that your Chapter 13 Bankruptcy case was recently dismissed. Did you know that a number of options
may still exist? There is a multitude of reasons why people file Chapter 13 Bankruptcy. Past mortgage balances, utility
shut offs, wage garnishments, judgments, car repossessions, back taxes. ‘Sometimes, it is necessary to file a Chapter 13
Bankruptcy because the person does not qualify for a Chapter 7 Bankruptcy. Unfortunately, many of these bankruptcies are
unsuccessful, despite the person’s eagerness and effort to have it succeed. It has been my experience in over 30 years of filing
Bankruptcies, that there is often external circumstances, such as job loss, increase in expenses, illness, and other factors that
limit a person’s chance of success.

Often times, debtors are confused about the process as it has not been fully explained to them by their attorney. They often
feel overwhelmed and alone, with many questions remaining unanswered. There are various reasons why people file
Chapter 13 Bankruptcies, all of which need to be explored. I believe it is part of an attorney’s role in representing a client to
ensure that as many goals as possible are achieved. In some cases, a Bankruptcy may not even be appropriate.

-Al- nape is net lost. Many times, a case may be refiled and your objectives will be met. In certain cases, it may be possible to
open a prior dismissed Bankruptcy. We offer free consultations to discuss your case in detail, and to evaluate all appropriate
Bankruptcy and non-Bankruptcy options. Payment plans are available and in some cases, only minimal fees will be needed
to begin work on your matter. We offer evening and weekend appointments to help accommodate your busy schedule. We
are available for immediate emergency filings and our phones are answered 24/7, I understand your struggles, and will
make all attempts to ¢ the refiling or reopening of your case successful!

Very truly yours

‘If you-are still represented by your prior counsel or have retained other counsel, please ©
. disregard this letter and we wish you nothing but success. Thank you for your time and consideration.

“en des GRE SS

’ We are proudly recognized as.an attorney debt relief agency providing relief under the Bankruptcy Code since 1986.

Additional New Jersey offices : Piscataway, Cinnaminson, Hamilton, & Marlton
Direct Number for New Jersey: (609) 261-4243

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:
Donald Boyd Chapter 13

Case No.: 24-10850-AMC
Debtor(s)

ORDER GRANTING DEBTOR’S MOTION FOR AUTHORITY TO SELL REAL PROPERTY

AND NOW, upon consideration of the Motion for Authority to Sell Real Property filed by the
debtor, upon notice to all interested parties, upon the filing, and any response thereto, and after a hearing
before the Court and for good cause shown, it is hereby

ORDERED, that the Debtor is granted permission to sell the real property located at 47 Marboro
Ln, Willingboro, NJ 08046 (“Property”), for the sale price of $265,000.00, pursuant to the terms of a
certain real estate agreement of sale dated as of December 4. 2024, to the buyer(s) thereunder, Dajuan
Goldsberry (“Buyers”).

The proceeds of the sale, including any funds held as a deposit made by or on behalf of the
Buyer, shall be distributed in the approximate following manner:
I. Ordinary and reasonable settlement costs, including,
but not limited to those related to notary services, deed

preparation, disbursements, express shipping, surveys,

municipal certifications, or any other such routine matters $3,497.00
2. Liens paid at closing - $255,876.04
3. Real estate taxes, sewer, trash and/or other such items $2,358.44
4. Property repairs, if any $
5. Real estate commission, at no greater than 6% $7,950.00
6. Attorney’s fees, if any $
7. Any small (less than $300) allowances agreed to be made
to Buyer to settle any unforeseen dispute arising at
settlement $
8. Other $

ESTIMATED AMT DUE TO SELLER(S) $681.25
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This Order is contingent upon the mortgage lien(s) held by US Bank Trust National Association,
or its assigns being paid in full at closing pursuant to a proper payoff quote obtained prior to and good
through the closing date; or any short payoff shall be approved by US Bank Trust National Association;
and Debtor shal! have ninety (90) days from entry of this Order to sell the Property.

After paying all liens in full and all costs of sale, the Debtor shall receive their exemption up to
the sum of $27,900.00 and any additional amounts shall be paid to and distributed by the chapter 13
trustee.

The title clerk shall email a completed HUD-1 or settlement sheet from the closing directly to
settlementsheet@ph | 3trustee.com immediately upon the close of the settlement, and the trustee shall
promptly notify the title company of his approval or objections to the sums to be disbursed. Upon trustee
approval, the title clerk shall fax a copy of the disbursement check to the trustee and shall immediately
transmit the actual disbursement check to the trustee by overnight courier,

US Bank Trust National Association (Proof of Claim #3-1) shall file amended proofs of claims
upon receiving sale proceeds in satisfaction of their secured claims and interests.

Per Bankruptcy Rule 6004(h), the 14 day stay as to effect of this Order is hereby waived.

BYTHE COURT
Date: Jan. 29, 2025

HONORABLE ASHELY M. CHAN
UNITED STATES BANKRUPTCY JUDGE

Document
A. Settlement Statement U.S. Depart

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iment of Housing OMB No, 2502-0265

and Urban Development

B. Type of Loan

1,0 FHA 2. FmHA 3. O Conv Unins 6. File Number
4.0 VA 5. OConvins. 6, £1 Seller Finance 177591 RN-O1
7, O Cash Sale.

7. Loan Number 8. Mortgage Ins Case Number

C. Note: This form is furnished to give you a statement of actual settlement costs. Amounts paid lo and by the settlement agent are shown, Items marked

"(p.o.c.)" were paid outside the closing; they are shown here for infor

| purposes and are not included in the totals.

D. Name & Address of Borrower E. Name & Address of Seller F. Name & Address of Lender

Dajuan Goldsberry Donald Boyd
143 Grumman Avenue 47 Marboro Lane

Prosperity Home Mortgage, LLC
4440 Brookfield Corporate Drive

Newark, NJ 07112 Willingboro, NJ 08046 Chantilly, VA 20851

G. Property Location

Block 521, Lot 37, Willinghoro Township, in Burlington County, NJ
47 Marboro Lane
Willingboro, NJ 08(46

IH. Setttement Agent Name

RealSafe Title, LLC

1L1 Litieton Road, Suite 301

Parsippany, NJ 07054 Tax ED: XX-XXXXXXX
Underwritten By: Title Resources

Place of Settlement 1. Settlement Date
RealSafe Tithe, LLC
111 Littleton Road, Suite 301 Fund:

Parsippany, NJ 07054

J. Summary of Borrower's Transaction

K. Summary of Seller's Transaction

100. Gross Amount Due from Borrower

400. Gross Amount Due to Seller

101, Contract Sales Price $265,000.00 | 401. ‘Contract Sales Price $265,000.00
102. Personal Property 402.

103. Settlement Charges to borrower $10,059.00 | 403.

104. 404.

105. 405.

Adjustments for items paid by seller in advance Adjustments for items paid by seller in advance

106. City/town taxes 03/24/25 thru 03/31/25 $187.98 | 406. City/town taxes 03/24/25 thru 03/31/25 S157,98
107. 407,

108. 408.

109. 409.

TO, 410,

Wt, AN.

112, 412,

13. 413.

i. Ald,

tts. 415,

6. 416.

120. Gross Amount Due From Borrower $275,216.98 | 420. Gross Amount Due to Seller $265, 187,98

200, Amounts Paid By Or in Behalf Of Borrower

800. Reductions in Amount Duc to Seller

201, Deposit or eamest money

501, “Excess Deposit

202, Principal amount of new foan(s) $255,000.00

502, Settlement Charges to Seller (ine 1400) $12,432.00

203. Existing loan(s) taken subject to

503. Existing Loan(s) Taken Subject to

204, Loan Amount 2nd Lien

504. Payoffof First Mortgage Loan to

505. Payotl of Second Mortgage

205, loan to

206. 506, PayolY to Shellpoint $259,343.10
207. 507.

208, 508.

209, 509,

Adjustments for items unpaid by seller

Adjustments for items unpaid by seller

210. City/own taxes

510. Cily/town laxes

21t. Sul.

212. 542.

213. 543.

214. 5t4.

215 545.

216, 546.

217. 517.

218. 518.

219. 519,

220. Total Paid By/For Borrower $255,000.00 | $20. Total Reduction Amount Due Seller $271,775.40
300, Cash At Settlement From/To Borrower 600, Cash At Setilemeut To/From Seller

30f. Gross Amount due from borrower (line 120) $275,216.98 | 601, Gross Amount due to seller (line 420) $265,187.98
302. Less amounts paid by/for borrower (line 220) $255,000.00 | 602, Less reductions in amt, duc seller (line 520) $271,775.10
303. Cash From Borrower $20,216.98 | 603. Cash From Selier $6,617.12

Section 5 of the Real Estate Scttlement Procedures Act (RESPA) requires the
following: » HUD must develop a Special Information Booklet to help persons
borrowing money to finance the purchase of residential real estate to better
understand the nature and costs of real estate settlement services;

* Each lender must provide the booklet to all applicants from whom it receives or for
whont it prepares a wrilten application to borrow money to finance the purchase of
residential real estate, * Lenders must prepare and distribute with the Booklet a
Good Faith Estimate of the settlement costs that the borrower is likely to incur in

Section 4{a) of RESPA mandates that ITUD develop and prescribe this standard
form to be used at the time of loan settlement to provide full disclosure of all chasges
imposed upon the borrower and seller. These are third party disclosures that ore
designed to provide the borrower with pertinent information during the settlement
process in order to be a betler shopper,

The Public Reporting Burden for this collection of information is estimated to
average one hour per response, including the time for reviewing instructions
searching existing data sources, gathering and maintaining the data needed, and

connection with the setdement, These disel sare Jatory. completing and reviewing the collection of information
This agency may not collect this information, and you are not required to complete
this form, unless il displays a currently vatid OMB control number,
The int ion req d does not lend ilself ta confidentiality.

Previous Editions are Obsolete Page ! form HUD-1 (3/86)

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L. Settlement Charges

Paid From

Paid From

700. Total Sales/Broker's Commission based on price $265,000,00 @2% =$5,300.00

Division of Commission (line 700) as follows: Borrower's Seller's
701, $§,300,00 to Signature Realty NJ, LLC Funds at Funds at
702, $0,00 to BHHS- New Jersey Properties Settt Settl
703. Commission Paid at Settlement $0.00 $5,300.00
704, Commission to BHHS- New Jersey Properties $7,950.00

800, Items Payable in Connection with Loan

801. Loan Origination Fee =% to
802, Loan Discount % to
803, Appraisal Fee to
804. Credit Report Fee to
805, to
806, lo
807. to
808. to
809. to
900. Items Required by Lender To Be Paid in Advance
901. Interest from to (@ SOlday
902, Mortgage Insurance for months to
903, Hazard Insurance Premium for years to
904. fo

1000. Reserves Deposited With Lender

1001. Hazard Insurance

months @ per month

1002, Mortgage Insurance

months @ per month

1003. City/Town Taxes

months @

us

per month

1004, Water

months @ per month

1005. Sewer

months @ per month

1006. MUA months @ per month
1007. Association months @ per month
1008. months @ per month
1009, 0 = months @

1011, Aggregate Adjustment

1100, Title Charges

1101. Settlement or Closing Fee to

1102, Abstract or Title Search to

1103. Title Examination to

1104, Title Insurance Binder to

1105. Document Preparation to

1106, Notary Fees to

1107. Attorney's Fees to

(includes above items numbers: )
HO8. Title Insurance to RealSafe Title, LLC - TRUST

(includes above items numbers: )
1109. Lender's coverage $255,000,00/S637.00 .
$110. Owner's coverage $265,000,00/S1,472.00 |
(11, Wire Fee to $30.00
1112. Overnight Fee to $31.50
1113. Closing Protection Ltr ART 6.6 to RealSafe Title, LLC - TRUST 878.00
ltd. ALTA 8.1-06 Enh to RealSafe Title, LLC - TRUST
1S. ALTA 9.10-06 Enh to RealSafe Title, LLC ~ TRUST.
1116, Survey Endorsement to RealSafe Title, LLC - TRUST $25.00
4117. Title Examination ART 5.1 to RealSafe Title, LLC - TRUST $100.00
1118. Prepare/Record NOS ART 7.6 to RealSafe Title, LLC - TRUST $40.00
1119. Tax Search ART 5.3 to RealSafe Title, LLC - TRUST $33.00
1120. Upper Ct/Pat Search ART 5.3 to RealSafe Title, LLC - TRUST $20.00
1121. Recording Ser. Fee Mig ART 7.1 to RealSafe Title, LLC - TRUST $15.00
1122. E-Doc Fee ART 7.2.2 to RealSafe Title, LLC - TRUST $50.00
1123. Overnight Fees ART 7.5 to RealSafe Title, LLC - TRUST $31.50
1124. Trans Platform Fee ART 7.6 to RealSafe Title, LLC - TRUST S81.00
1125. County Search & Copies to RealSafe Title, LLC - FRUST $95.00
1126. Wire Fee ART 7.6 to RealSafe Title, LLC - TRUST S450
1127. Flood Search ART 5.3 to RealSafe Title, LLC - TRUST $10.00
1128. Tidelands Search ART 5.3 to RealSafe Title, LLC - TRUST $25.00
1129, E Recording Platform ART 7.6 to RealSafe Title, LLC - TRUSF $7.00
1200. Government Recording and Transfer Charges
1201. Recording Fees Deed ; Morigage ; Rel to
1202, Realty Transfer Tax Deed $1,442.00 ; Morigage to $1,442.00
1203, State Tax/Stamps Deed ; Mongage to °
1204. Cancellation of Tax Lien to County Clerk $75,00
1205. to
1300. Additional Settlement Charges
1301. Ist Quarter 2025 Tax to Willingboro Township TAX POC (S) SE,558.44

COLLECTOR

1302. Fianl Water/Sewer (escrow) to RealSafe Title, LLC - ESCROW $1,000.00
1303, Seller Attorney Fee to Buckalew Frizzell & Crevina LLP 51,980.00

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(304. Utility Balance thru 3/7 to Willingboro MUA $2,573.50
1400, Total Settlement Charges (enter on lines 103, Section J and 502, Section K) $10,059.00 | “$12,432.00
Jhave carefully reviewed the HUD-! Settlement Statement and to the best of my knowledge and belief, it is a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction, [ further certify that | have received a completed copy of pages 1, 2 and 3 of this HUD-1 Settlement

Statement.

Dajuan Goldsberry Donald Boyd

SETTLEMENT AGENT CERTIFICATION
The HUD-! Settlement Statement which | have prepared is a true and accurate
account of this transaction. [ have caused the funds to be disbursed in
accordance with this statement.

Settlement Agent Date
Warning: It is a crime to knowingly make false statements to the United
States on this or any other similar form. Penalties upon conviction can
include a fine and imprisonment. For details see: Title 18 U.S, Code Section
LOO and Section 1010.

Previous Editions are Obsolete Page 2

form HUD-1 (3/86)
Handbook 4305.2
Case 24-10850-djb

PHILIP D, MURPHY
Governor

TAHESHA L. WAY
Lt. Governor

Donald Boyd

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DEPARTMENT OF THE TREASURY
DIVISION OF TAXATION
P.O. Box 269
TRENTON, NEW JERSEY 08695-0269

Telephone (609) 292-5995 / Facsimile (609) 989-0113

January 30, 2025

1208 Ogden Street
Philadelphia PA 19123

Re:

47 Marboro Lane, Willingboro NJ 08046

Dear Donald Boyd:

Desc Main

ELIZABETH MAHER MUOIO
State Treasurer

MARITA R. SCIARROTTA
Acting Director

This is to acknowledge receipt of your application for a waiver of payment of the
2% nonresident withholding and the requirement for filing a GIT/REP-1, 2 or 3 form.
Based on the information you have provided, the Division has determined that you are
not required to file a GIT/REP-1, 2, or 3 to be recorded along with the deed because the
seller has no gain from the sale of the property and will face an undue hardship if the 2%
is withheld. Accordingly, please find enclosed a GIT/REP-4 form with the raised seal of
the Division of Taxation which applies only to the specified transaction. The county
recording officer will accept this form along with the deed for recording.

Very truly yours,
Wor ONE Me Sillore

Andrew W. Staltari
Tax Services Specialist

Regulatory Services Branch

Note: The information contained in this letter is specific to the facts or circumstances presented
by the inquirer and may not be relied on by any other person or used as advice or precedent for
any other matter or person in a similar situation.

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cl

Name Address

Donald Boyd 1208 Ogden Street, Philadelphia, PA, 19123

Completed Transactions Paid via TFS:

Case Transaction
Date Started Description Number Date Cleared Date Arrived ID Amount Status
January 10,2625 Automatic Payment 24-10850 January 13, 2025 January 14, 2025 17727750 $120.00 Complete
December 08, Automatic Payment —24-10850 December 09, December 10, 17475721 $240.00 Complete
pasgmber 95, Automatic Payment 24-10850 17466637 $240.00 Failed
August 10, 2024 Automatic Payment 24-10850 16633315 $80.00 Falled
July 10, 2024 Automatic Payment 24-10850 July 11, 2024 July 12, 2024 16414501 $80.00 Complete
June 10, 2024 Automatic Payment  24-10850 June 11, 2024 June 12, 2024 16205540 $80.00 Complete
May 10, 2024 Automatic Payment  24-10850 May 13, 2024 May 14, 2024 15998399 $80,00 Cornplete
September 18, automatic Payment —23-10046 September 19, September 20, 14423632 $100.00 Complete
4 Monthly Plan tae!

July 04, 2023 Payment 23-10046 13949720 $100.00 Failec
March 28,2023 Monthly Plan 23-10046 = March 29,2023 ~— March 30, 2023 13337386 $240.00 Complete

Payment
